USCA Case #24-1291      Document #2078711       Filed: 10/07/2024   Page 1 of 8



           IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT


Travis Dardar, et al.                       )
                                            )
            Petitioners,                    )
                                            )
      v.                                    )   No. 24-1291, et al.
                                            )
Federal Energy Regulatory                   )
Commission,                                 )
                                            )
            Respondent.                     )


MOTION OF RESPONDENT FEDERAL ENERGY REGULATORY
 COMMISSION FOR ABEYANCE OF RECORD FILING, UNTIL
   AFTER COURT ACTION ON PETITIONERS’ PENDING
          MOTION FOR STAY OR EXPEDITION


     Pursuant to Rule 27 of the Federal Rules of Appellate Procedure

and Circuit Rule 27, Respondent Federal Energy Regulatory

Commission (Commission) hereby requests abeyance of the filing of the

certified index to the record until after the Court rules on Petitioners’

September 23 motion requesting stay or expedition, with the parties to

file motions to govern 45 days after the Court rules on Petitioners’

motion.
USCA Case #24-1291    Document #2078711      Filed: 10/07/2024   Page 2 of 8



     The Commission understands that Petitioners oppose this motion.

Intervenor-Respondents (Venture Global CP2 LNG, LLC and Venture

Global CP Express, LLC) support this motion.

                              Background

     Petitioners challenge the Commission’s June 27, 2024 approval of

a liquefied natural gas terminal in Cameron Parish, Louisiana and an

associated pipeline in east Texas and southwest Louisiana. See Venture

Glob. CP2 LNG, Order Granting Authorizations, 187 FERC ¶ 61,199.

Before the agency, Petitioners sought rehearing and an agency stay on

July 29, 2024. See Rehearing Request, Accession No. 20240729-5111.1

The Commission denied the request for stay on October 1, 2024, but

announced that it will address the merits of the Rehearing Request in a

future order. See Venture Glob. CP2 LNG, LLC, Order Denying Stay,

189 FERC ¶ 61,005 (Oct. 1, 2024); Venture Glob. CP2 LNG, LLC, Notice

of Denial of Rehearing by Operation of Law and Providing for Further

Consideration, 188 FERC ¶ 62,109 (Aug. 29, 2024).




1 Documents referenced by FERC accession number can be retrieved at

https://elibrary.ferc.gov/eLibrary/search.

                                     2
USCA Case #24-1291     Document #2078711      Filed: 10/07/2024   Page 3 of 8



     On September 4, 2024, Petitioners sought judicial review of the

June 27 Order before the Commission had issued a merits order

addressing their request for rehearing. See Petitions for Review, Nos.

24-1291 & 24-1292; see also September 6, 2024 Order, Nos. 24-1291 &

24-1292 (consolidating cases and ordering procedural motions to be filed

by October 7, 2024).

     On September 23, 2024, Petitioners filed a motion requesting a

stay or alternative expedited briefing. See Doc. No. 2076251

(September 23 Motion). The Commission and Intervenor-Respondents

filed separate oppositions to the request for court stay on October 3,

2024. See Doc. No. 2078163 (FERC Opposition) & Doc. No. 2078158

(Intervenor-Respondents Opposition).

                             Relief Sought

     A short period of abeyance is in order because Petitioners’ request

for a court stay and expedited briefing remains outstanding. The

Commission opposed the requests for stay and expedited briefing

contained in the September 23 Motion, explaining that the requests are

premature and that there is no emergency here because construction is




                                    3
USCA Case #24-1291    Document #2078711        Filed: 10/07/2024   Page 4 of 8



not imminent. See FERC Opposition 2, 27-29. The Court has not yet

ruled on the September 23 Motion.

     Moreover, the agency has not yet issued, as promised, an order

addressing the numerous issues raised on rehearing. See FERC

Opposition 8-11 (explaining agency procedural background and

asserting that two-month delay by Commission consisting of a majority

of new members is neither unusual nor unfair). The forthcoming

Commission order will allow the Commission to further explain or

modify its decisions, thereby facilitating judicial review. See FERC

Opposition 27-29.

     Given the numerous complex and technical questions presented

here, prudence calls for letting the Commission weigh in first. See

FERC Opposition 29. Indeed, Petitioners’ filing (earlier today) only

reinforces this point by referring to the (1) “significant underlying

record;” (2) “numerous and complex issues” presented in this case; and

(3) rehearing request that “amounted to over 71,000 words.”

Petitioners’ Joint Motion to Establish a Briefing Schedule and Format,

Doc. No. 2078616 at 4.




                                     4
USCA Case #24-1291      Document #2078711      Filed: 10/07/2024   Page 5 of 8



        Petitioners mistakenly assume that nothing will change going

forward when the Commission addresses the request for agency

rehearing. See FERC Opposition 28-29; see also 15 U.S.C. 717r(a)

(providing that, until record is filed with the Court, the Commission

may “modify or set aside, in whole or in part,” any order issued under

the Natural Gas Act). In light of this, moving to briefing now would be

particularly unfair to any other party that is awaiting further agency

action and that might be aggrieved by some aspect or potential

modification of the June 27 Order.

                                Conclusion

        Accordingly, the Commission requests abeyance of the filing of the

certified index to the record until after the Court rules on Petitioners’

motion for stay or expedition, with the parties to file motions to govern

45 days after the Court rules on Petitioners’ motion requesting a court

stay.




                                     5
USCA Case #24-1291   Document #2078711     Filed: 10/07/2024   Page 6 of 8



                                Respectfully submitted,

                                Robert H. Solomon
                                Solicitor

                                /s/ Scott Ray Ediger
                                Scott Ray Ediger
                                Attorney

                                Federal Energy Regulatory
                                Commission
                                Washington, DC 20426
                                (202) 502-8334
                                scott.ediger@ferc.gov

                                Counsel for Respondent
                                Federal Energy Regulatory
                                Commission


October 7, 2024




                                  6
USCA Case #24-1291    Document #2078711      Filed: 10/07/2024   Page 7 of 8



                  CERTIFICATE OF COMPLIANCE

     Pursuant to Fed. R. App. P. 32(g) and Circuit Rule 32(e), I certify

that the foregoing complies with the type-volume limitation of Fed. R.

App. P. 27(d)(2) because it contains 717 words, excluding the parts of

the motion exempted by Fed. R. App. P. 32(f) and Circuit Rule 32(e)(1).

     I further certify that this motion complies with the typeface

requirements of Fed. R. App. P. 32(a)(5) and the type style

requirements of Fed. R. App. P. 32(a)(6) because this motion has been

prepared in Century Schoolbook 14-point font using Microsoft Word.


                                 /s/ Scott Ray Ediger
                                 Scott Ray Ediger
                                 Attorney

                                 Federal Energy Regulatory
                                 Commission
                                 Washington, DC 20426
                                 (202) 502-8334
                                 scott.ediger@ferc.gov

                                 Counsel for Respondent
                                 Federal Energy Regulatory
                                 Commission


October 7, 2024
USCA Case #24-1291     Document #2078711        Filed: 10/07/2024   Page 8 of 8



                     CERTIFICATE OF SERVICE

      I hereby certify that, on October 7, 2024, a copy of the foregoing

was filed electronically. Notice of this filing will be sent to all parties by

operation of the Court’s electronic filing system. Parties may access

this filing through the Court’s system.



                                    /s/ Scott Ray Ediger
                                    Scott Ray Ediger
                                    Attorney

                                    Federal Energy Regulatory
                                    Commission
                                    Washington, DC 20426
                                    (202) 502-8334
                                    scott.ediger@ferc.gov

                                    Counsel for Respondent
                                    Federal Energy Regulatory
                                    Commission


October 7, 2024
